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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORDA

                                                  Case No.: 1:23-cv-20727-RKA


              RYAN BRESLOW, et al.,

                       Plaintiffs,

              v.

              MARK PHILLIPS, et al.,

                       Defendants.

              _________________________/

              MOVEMENTDAO, et al.,

                       Counterclaim-Plaintiffs,

              v.

              RYAN BRESLOW, et al.,

                       Counterclaim-Defendants.




                                          DECLARATION OF MARK PHILLIPS


                      I, Mark Phillips, declare as follows:

                      1.      I am a defendant in this action, am over the age of eighteen, and am competent to

            testify as to the matters herein. The following is based upon personal knowledge unless otherwise

            stated.

                      2.      Defendant Benjamin Reed (“Mr. Reed”) and I utilized Robinhood in connection

            with MovementDAO, an online cryptocurrency and brokerage platform, to convert cryptocurrency




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            into fiat. Robinhood only permits its users to send cryptocurrency amounts of $5,000 each 24

            hours. Attached hereto as Exhibit 1 is a true and correct copy of Robinhood’s “Crypto Transfers”

            information page, which sets forth the $5,000 daily limitation.

                     3.      On March 21, 2023, I contacted Robinhood to see if Robinhood would increase the

            daily transfer limit, but I was unable to do so. Attached hereto as Exhibit 2 is a true and correct

            copy of my March 21, 2023, communications with Robinhood.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

            and correct.

            Dated: May 30, 2023




                                                                                     Mark Phillips




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